      Case 1:21-cr-00509-TSC Document 147-11 Filed 04/09/24 Page 1 of 1




Hello Judge Chutkan,

I have known Antony Vo since we went to the same high school and college together. I
followed him on social media and saw his posts that day. I had reported his posts and
spoke with an FBI agent to confirm that I saw his posts on Instagram. I hadn’t thought
anything of the conversation, until he was charged. I read the whole narrative and
believed myself to be Witness #2.

However, he is one of the most friendly, peaceful guys in our social circles. There is no
way he did anything violent or would have been involved in any violence that day. I do
not believe he is guilty of any crime and likely, just happened to be there with the
understanding of it being peaceful legal protest.

I remember volunteering with Antony Vo for student council hours in High School. He
has been a responsible designated driver for handful of special occasions. He is
friendly, caring human who has so much to offer this world. He helped guide friends
through challenges and would always have wisdom to share. He would always bring a
calming energy to any room he walked into. He is not violent and would have left any
uncomfortable, unsafe, or dangerous situation. He would often avoid conflict and help
friends make peace between each other.
Please consider this letter of support for Antony Vo. He was always careful and
cautious, and would not have done anything wrong. With his brilliant mind, any
community would benefit greatly through his acts of community service.

Thanks,

[Name redacted at writer's request]
